     Case 1:22-cv-05944-KPF      Document 92    Filed 03/19/24   Page 1 of 49




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

CHRISTINE DAVIS,
                         Plaintiff,

                         -v.-
                                                          22 Civ. 5944 (KPF)
AMERICAN BROADCASTING COMPANY (ABC);
DELICIOUS NON-SEQUITUR PRODUCTIONS;                     OPINION AND ORDER
BLUE PARK PRODUCTIONS; SHAVON SULLIVAN
WRIGHT; CHERISSE PARKS; JUSTIN HALPERN;
PATRICK SCHUMACKER; and QUINTA BRUNSON
                         Defendants.


KATHERINE POLK FAILLA, District Judge:

      Plaintiff Christine Davis owns the registered copyright to the treatment

for a proposed television series chronicling the exploits of public-school

teachers, entitled This School Year (the “Work”), based on Plaintiff’s own

experiences as a teacher in the New York City public school system. Plaintiff

now presses a single claim under the Copyright Act of 1976, 17 U.S.C. ch. 1-

15, alleging that various parties infringed upon her Work in connection with

the production and release of the popular television series Abbott Elementary, a

comedy set in a public elementary school located in Philadelphia. In

particular, Plaintiff sues those responsible for the creation and dissemination

of the series — Defendants Quinta Brunson, Justin Halpern, Patrick

Schumacker, Delicious Non-Sequitur Productions, LLC, and the American

Broadcasting Company (together, the “Abbott Defendants”) — as well as those

responsible for allegedly providing Plaintiff’s Work to the Abbott Defendants,

namely Defendants Shavon Sullivan Wright, Blue Park Productions, LLC
      Case 1:22-cv-05944-KPF     Document 92    Filed 03/19/24   Page 2 of 49




(“BPP,” and together with Wright, the “BPP Defendants”), and Cherisse Parks

(together with the BPP and Abbott Defendants, “Defendants”).

      Now before the Court are the three separate motions to dismiss of the

Abbott Defendants, Parks, and the BPP Defendants. The Abbott Defendants

move under Federal Rule of Civil Procedure 12(b)(6), maintaining that Abbott

Elementary bears no substantial similarity to This School Year, and thus that

Plaintiff cannot plausibly allege that the Abbott Defendants engaged in any

illegal copying, a necessary element of her claim. Parks moves under

Rules 12(b)(2) and 12(b)(6), incorporating the Abbott Defendants’ arguments

regarding the lack of any substantial similarity, and further maintaining that

Plaintiff has not plausibly alleged facts to support the Court’s assertion of

personal jurisdiction over her. Not to be forgotten, the BPP Defendants move

under Rules 12(b)(2) and 12(b)(6), incorporating both the Abbott Defendants’

arguments on the merits and Parks’s arguments concerning jurisdiction, and

adding their position that Plaintiff has not pleaded any actionable theory of

liability against the BPP Defendants.

      For the reasons set forth herein, the Court denies the motions to dismiss

for lack of personal jurisdiction of Parks and the BPP Defendants, but grants

all Defendants’ broader motions to dismiss for failure to state a claim.




                                        2
      Case 1:22-cv-05944-KPF        Document 92       Filed 03/19/24     Page 3 of 49




                                    BACKGROUND 1

A.    Factual Background

      1.     The Parties

      Plaintiff is a resident of New York, New York, and the author of a

television treatment titled This School Year, for which work she also holds the

registered copyright. (SAC ¶¶ 2, 9).

      Defendants Quinta Brunson, Justin Halpern, and Patrick Schumacker

are residents of California. (SAC ¶¶ 17-19). Brunson is the writer, executive

producer, and star of Abbott Elementary, while Halpern and Schumacker serve

as the series’ executive producers. (Id.; Abbott Br. 3).

      Defendant Delicious Non-Sequitur Productions, LLC (“Delicious Non-

Sequitur”) is registered as a Foreign Limited Liability Company in Delaware

(SAC ¶¶ 11), while Defendant American Broadcasting Company (“ABC”) is a

New York-based corporation and business entity registered with the New York



1     This Opinion draws its facts from the Second Amended Complaint (“SAC” (Dkt. #56)),
      the well-pleaded allegations of which are taken as true on this motion, see Ashcroft v.
      Iqbal, 556 U.S. 662, 678 (2009), and the exhibits attached thereto (“SAC, Ex. [ ]”). The
      Court also relies, as appropriate, on Exhibit 1 to the Declaration of Rachel Strom in
      support of the Abbott Defendants’ motion to dismiss (Dkt. #66 (“Strom Decl.”)), which
      exhibit contains the entirety of Season 1 of Abbott Elementary. See Effie Film, LLC v.
      Pomerance, 909 F. Supp. 2d 273, 298 (S.D.N.Y. 2012) (“It is well established that courts
      may take judicial notice of the works at issue in a copyright case.”).
      For ease of reference, the Court refers to the Abbott Defendants’ memorandum of law in
      support of their motion to dismiss as “Abbott Br.” (Dkt. #65); to Parks’s memorandum
      of law in support of her motion to dismiss as “Parks Br.” (Dkt. #69); to Plaintiff’s
      consolidated memorandum of law in opposition to the Abbott Defendants’ and Parks’s
      motions to dismiss as “Pl. Abbott Opp.” (Dkt. #82); and to the Abbott Defendants’ and
      Parks’s reply memoranda of law as “Abbott Reply” and “Parks Reply,” respectively (Dkt.
      #84 (Parks Reply), 85 (Abbott Reply)). In a similar vein, the Court refers to the BPP
      Defendants’ memorandum of law in support of their motion to dismiss as “BPP Br.”
      (Dkt. #87); to Plaintiff’s memorandum of law in opposition to the BPP Defendants’
      motion to dismiss as “Pl. BPP Opp.” (Dkt. #90); and to the BPP Defendants’ reply
      memorandum of law as “BPP Reply” (Dkt. #91).



                                             3
      Case 1:22-cv-05944-KPF         Document 92        Filed 03/19/24      Page 4 of 49




Department of State (id. ¶ 10). Delicious Non-Sequitur serves as the

production company for Abbott Elementary, and ABC produces, markets, and

broadcasts the series. (Abbott Br. 3)

      Defendants Shavon Sullivan Wright is a resident of New Jersey (SAC

¶ 15), and Defendant Cherisse Parks is a resident of Pennsylvania (id. ¶ 16).

Wright and Parks co-founded of Defendant Blue Park Productions, LLC, a

production company located in New Jersey. (BPP Br. 10; see Dkt. #70

(Declaration of Cherisse Parks) ¶ 4).

      2.     The Development of This School Year

      Plaintiff is a rising Jamaican-American writer, actor, and performer in

New York City. (SAC ¶ 27). She is also a licensed New York City school

teacher and, at the time of the filing of this lawsuit, was entering her eighth

year of teaching in the New York City public school system. (Id.). Plaintiff

created This School Year in 2018, inspired by her personal experience in

teaching, as well as the veteran teaching experiences of her family members,

including her cousin, Camille Davis, after whom the protagonist of the Work is

named. (Id. ¶¶ 28-33). 2 Many of the elements, characters, plot lines, and

scenarios contained in This School Year are drawn directly from Plaintiff’s daily

teaching experiences; her encounters with other teachers, school

administrators, and students; and her background as a step coach. (Id. ¶¶ 31-

32). Plaintiff registered This School Year with the United States Copyright


2     For clarity, the Court refers to Plaintiff Christine Davis as “Plaintiff,” and to the
      protagonist of This School Year, “Ms. Camille Davis” (SAC ¶ 29), as “Davis” or “Ms.
      Davis.”



                                               4
     Case 1:22-cv-05944-KPF     Document 92     Filed 03/19/24   Page 5 of 49




Office on March 6, 2020, under Copyright Registration No. Pau004020233, and

has also registered the Work with the Writers Guild of America. (Id. ¶¶ 33-35).

      In or about mid-June through July 2020, Plaintiff contacted Wright and

Parks at Blue Park Productions, seeking a production company to assist

Plaintiff in bringing This School Year to market. (SAC ¶ 48). Plaintiff was

excited about the mission statement of Wright, Parks, and BPP to “[e]ncourage

and train the next generation of black female identifying creatives.” (Id. ¶¶ 49-

50). Indeed, BPP marketed itself as an “incubator and facilitator for talented

black women to sell their original ideas and series to television networks and

streaming platforms.” (Id.). Plaintiff alleges that Parks and Wright held

themselves out to Plaintiff as professional producers with substantial

experience programming for network television and “‘connections’ with ABC

and Hulu,” the latter being the streaming platform on which Abbott Elementary

ultimately aired. (Id. ¶¶ 51-52). It was Plaintiff’s impression, based on those

interactions, that Parks and Wright, through BPP, would work with Plaintiff to

develop This School Year into a television show. (Id. ¶ 52).

      To that end, on June 15, 2020, Wright sent Plaintiff a Non-Disclosure

Agreement (the “BPP NDA”), which agreement Plaintiff duly signed and

returned that same day. (SAC ¶¶ 53-54). Thereafter, Plaintiff emailed Wright a

copy of her script for This School Year and an accompanying “story bible.” (Id.

¶ 55). Plaintiff further emailed BPP updates to her script and story ideas for

episodes on June 30, 2022. (Id. ¶ 59).




                                         5
      Case 1:22-cv-05944-KPF      Document 92    Filed 03/19/24   Page 6 of 49




      Roughly one month after providing her original submission, on July 12,

2020, Plaintiff met via Zoom with Parks and Wright to discuss her script and

story idea. (SAC ¶¶ 60-61). In this meeting, Parks and Wright reiterated their

excitement regarding Plaintiff’s script and story idea for This School Year, “told

Plaintiff they would be able to present her work to noteworthy television

outlets, including HULU, ABC, and others,” and repeatedly expressed that both

studios were looking for “Black, female-led comedies.” (Id. ¶¶ 62-64).

Accordingly, Wright and Parks “gave Plaintiff ‘notes’ on the script,” and

promised a subsequent meeting after Plaintiff incorporated their notes and

recirculated a revised script, further urging Plaintiff to do so quickly to allow for

BPP’s presentation of Plaintiff’s idea during the upcoming pitch season. (Id.

¶¶ 65-66).

      Plaintiff thereafter diligently incorporated Wright’s and Parks’s notes into

her script and sent the revised script back to BPP. (SAC ¶¶ 67-68).

Unfortunately, however, Plaintiff never heard back from Wright or Parks; to this

day, neither individual has responded to Plaintiff’s revised submission. (Id.

¶¶ 69-70). Instead, upon information and belief, Plaintiff alleges that Wright,

Parks, and BPP “took Plaintiff’s script and storybook and presented [This

School Year] to their ‘connections’ at Hulu, ABC[,] and others,” without

Plaintiff’s notice or consent. (Id. ¶ 71).

      3.     The Development of Abbott Elementary

      Abbott Elementary grew out of Brunson’s pitch of a concept, originally

titled Harrity Elementary, to ABC in September 2020. (SAC ¶ 76). At that time,



                                             6
      Case 1:22-cv-05944-KPF     Document 92     Filed 03/19/24   Page 7 of 49




Brunson had apparently only developed a pitch document, and did not have a

pilot episode to support her original pitch to ABC. (Id. ¶¶ 77-78). Nonetheless,

in that same month, “ABC committed to a ‘put pilot’” for what was to become

Abbott Elementary. (Id. ¶ 72). A few months later, in February 2021, ABC gave

Brunson’s project an official pilot order and pre-production began, followed by

production of the pilot episode. (Id. ¶ 73). In May 2021, ABC ordered a full

season of the project (id. ¶ 74), and on August 16, 2021, Delicious Non-

Sequitur and ABC commenced full production of Abbott Elementary (id. ¶ 75).

      4.    Overview of Both Works

      For the benefit of the record, the Court provides a brief synopsis of the

works at issue in this case before delving into the minutiae in its subsequent

analysis. See Williams v. Crichton, 84 F.3d 581, 583 (2d Cir. 1996) (observing

that the court’s “determination of substantial similarity requires a detailed

examination of the works themselves” (internal quotation marks omitted)). The

Court presumes broader familiarity with Plaintiff’s Work, i.e., the underlying

script for This School Year (SAC, Ex. J (“TSY”)); Brunson’s script for the pilot of

Abbott Elementary, then-titled Harrity Elementary (SAC, Ex. K (“AE”)); and the

entire first season of Abbott Elementary (Strom Decl., Ex. 1).

            a.     This School Year

      This School Year is a “mockumentary”-style workplace comedy set in New

York City Public School 311. (See generally TSY). The episode begins a few

days before the start of a new school year, and follows Camille Davis, the

protagonist and a teacher in her second year, as she prepares for the year to



                                         7
      Case 1:22-cv-05944-KPF    Document 92     Filed 03/19/24   Page 8 of 49




come. (See generally id.). The show opens on Davis, alone in her classroom,

banging her head against a book repeatedly and expressing trepidation about

the upcoming school year. (Id. at 1). She is interrupted by two colleagues, Mr.

West and Mr. Ryan, and the trio engage in a discussion about Davis’s lack of

enthusiasm for the upcoming year, as well as her need to get through the year

so that she can receive tenure. (Id. at 2-3). Davis’s outlook takes a further

turn for the worse when she is informed that the school has a new principal,

Ms. Lyons, who threatens to put Davis’s chances of receiving tenure in

jeopardy. (Id. at 4-7).

      The episode continues in a large meeting in the school’s computer lab, at

which meeting Principal Lyons — described as “[w]hite, middle-aged, [and]

ditzy” (TSY 8) — addresses the school’s teachers and staff (id. at 7-9). Several

other supporting characters are introduced to the viewer, including the school’s

no-nonsense assistant principal and teachers of various personality types,

including a teacher who is half-asleep in the meeting, thanks to his tenured

status; several veteran teachers, who view Principal Lyons with a degree of

skepticism; and a younger, unhappy junior teacher. (Id.). In this meeting,

Principal Lyons introduces the teachers and staff to the documentary crew,

thereby enabling the show’s mockumentary format. (Id. at 9).

      As the day progresses, Davis prepares her classroom and bulletin

boards, interacts with a number of supporting characters in the school, and

intermediates some mild tension between West and Ryan. (See generally

TSY 9-27). The former is described as “Black, 24, tall, joyful, [and] sarcastic”



                                        8
       Case 1:22-cv-05944-KPF     Document 92     Filed 03/19/24   Page 9 of 49




(id. at 1), and the latter as “White, 24, a know it all, enthusiastic[,] and really

the type to get directly underneath your skin, even to the bones maybe” (id. at

2). Consistent with its mockumentary format, the episode is intercut with

interviews of the various characters, including Lyons, Davis, and West, who

each discuss their plans for the upcoming school year. (Id. at 9-10, 20-21, 25-

26).

       Later in the day, Davis is frustrated to learn that Principal Lyons has

assigned her a new teaching subject at the last minute. (TSY 24). Davis is also

irked when she is asked by Lyons to lead the school’s culture committee, given

her experience leading the school’s step team. (Id. at 26-28). The episode

closes with Davis returning to her classroom and slamming the door behind

her, only to

               realize[] her desk looks different because it isn’t her
               desk. She realizes she’s been jacked, as if the day
               couldn’t get any worse. She screams from the top of her
               lungs and throws a book at the blackboard. The sign
               “Welcome to this School Year” falls to the floor.

(TSY 28).

               b.    Abbott Elementary

       Abbott Elementary is also a mockumentary-style workplace comedy. (See

generally AE). At the center of the series is Janine Teagues (“Teagues”), a

second-year teacher in the eponymous Philadelphia elementary school. (See

generally id.). The series begins at the start of a new school year, and the pilot

episode opens on Teagues, mid-lesson, in her second-grade classroom. (Id. at

1). Teagues gives an optimistic introductory monologue, intercut with scenes



                                          9
     Case 1:22-cv-05944-KPF        Document 92      Filed 03/19/24     Page 10 of 49




of various teachers in their classrooms. (Id. at 2-3). The scene ends on a

comedic note, with Teagues confiding in the viewer that she “finally feel[s] on

top of things,” all while a student is urinating on the classroom rug because

the school toilets do not work. (Id. at 3). The loss of Teagues’s classroom rug

remains a recurring plot point throughout the episode, as Teagues attempts to

secure resources to replace the rug from the school’s principal, Ava Coleman.

(Id. at 8-9, 14-15). Coleman is described as “mid-40s, Black, aloof, loud, tone-

deaf, [and] always want[ing] to be center of attention.” (Id. at 8).

      In Act One of the pilot episode, the crew follows Teagues as she manages

her students and interacts with Ms. Beeman, a veteran teacher who always

maintains control of her classroom and whom Teagues greatly respects. (AE 4-

5). The remaining cast of teachers is introduced shortly thereafter, in the

teacher’s lounge, where Teagues, Beeman, and Melissa Peterson, 3 another

veteran second-grade teacher, poke fun at a junior teacher, Jacob Hill, who is

described as “20s, white, painfully woke, a performative liberal cool nerd type.”

(Id. at 3, 6-8). Principal Coleman also makes an appearance in the teacher’s

lounge, praising her own decision to invite the film crew into the school to

“cover[] underfunded, poorly managed public schools in America,” and

brushing off Teagues’s request to get a new rug for her classroom before exiting

unfazed. (Id. at 8-10).




3     This character is ultimately named Melissa Schemmenti in the final, produced version
      of Abbott Elementary.



                                           10
     Case 1:22-cv-05944-KPF     Document 92    Filed 03/19/24   Page 11 of 49




      Act Two of the pilot follows the teachers and students over the course of

several school days and features the arrival of Gregory Wright, a “20s, Black,

handsome, [and] a little self-serious” substitute teacher, brought in to replace a

teacher who was fired after an altercation with a student. (AE 13-20). Viewers

also learn that Teagues’s scheme to get Coleman to put in an emergency

budget request to fund Teagues’s replacement rug has been successful. (Id.).

However, when Coleman is comically revealed to have used Teagues’s

emergency budget request to instead fund a new sign for the school (id. at 21-

22), Teagues writes an email to the school’s superintendent about Coleman’s

incompetence, realizing at the close of the act that the email was accidentally

forwarded to Coleman herself (id. at 23-24).

      Act Three, the pilot episode’s final act, commences with a showdown

between Teagues and Coleman at an all-staff meeting, in which Teagues

publicly admits that she emailed the superintendent due to her frustration

with Coleman’s purchase of the sign, and “sadly storms out of the room.”

(AE 25-27). Beeman, Peterson, Hill, and the other teachers walk out of the

meeting to check on Teagues, who confesses that she is so driven to acquire a

replacement rug because one of her students naps on her rug each day, as he

“comes from a rough home … doesn’t get much sleep[,] [and] [u]sed to fall

asleep during [his] morning lesson.” (Id. at 28). Teagues’s compassion and

motivation soften her more cynical colleagues, garnering their support in

Teagues’s quest for a new rug. (Id. at 28-30). Hijinks ensue, with Teagues,

Peterson, Hill, and other teachers visiting the construction site of Philadelphia’s



                                        11
     Case 1:22-cv-05944-KPF      Document 92    Filed 03/19/24   Page 12 of 49




new football stadium, collecting stolen rugs diverted from installation in the

stadium’s VIP suites. (Id. at 30-32). The episode ends on a positive note, with

the teachers enjoying their new rugs and Coleman reconciling with Teagues, as

orchestrated by Peterson and Beeman. (Id. at 32-33).

B.    Procedural History

      Plaintiff initiated this case with the filing of a complaint on July 12,

2022, alleging the aforementioned copyright claims against current Defendants

as well as the Walt Disney Company. (Dkt. #1). Prior to the issuance of any

summons, on October 4, 2022, Plaintiff filed her First Amended Complaint (the

“FAC”), alleging the same claims, but modifying the list of defendants to clarify

the name of Delicious Non-Sequitur Productions, LLC, and to add Halpern and

Schumacker. (Dkt. #4).

      On January 6, 2023, Disney and the Abbott Defendants jointly filed a

pre-motion letter seeking to move to dismiss the FAC for failure to state a claim

pursuant to Rule 12(b)(6), and the Court set a pre-motion conference for

February 14, 2023, accordingly. (Dkt. #39, 40). On January 31, 2023, Parks

filed her own pre-motion letter seeking to move to dismiss the FAC under

Rules 12(b)(2), (5), and (6). Plaintiff filed her opposition to Disney’s and the

Abbott Defendants’ pre-motion letter on February 7, 2023 (Dkt. #45), and her

opposition to Parks’s pre-motion letter on February 10, 2023 (Dkt. #47). As

scheduled, the Court held a pre-motion conference on February 14, 2023, at

which conference the Court (i) granted Plaintiff leave to file a second amended

complaint and (ii) set a briefing schedule for the anticipated motions to



                                         12
     Case 1:22-cv-05944-KPF     Document 92    Filed 03/19/24   Page 13 of 49




dismiss. (February 14, 2023 Minute Entry; Dkt. #49 (Transcript of

Proceedings)).

      Plaintiff filed her Second Amended Complaint, the operative complaint in

this matter, on April 12, 2023. (Dkt. #56 (SAC)). The Second Amended

Complaint pressed the same copyright claims, but dropped Disney as a

defendant. (Id.). Thereafter, the Abbott Defendants and Parks filed separate

motions to dismiss on May 5, 2023. (Dkt. #64-70). Then, on May 8, 2023, the

BPP Defendants appeared, seeking an extension of time to move, answer, or

otherwise respond to the Second Amended Complaint, which extension the

Court granted on May 9, 2023. (Dkt. #71-74). And on July 12, 2023, the BPP

Defendants also filed a pre-motion letter seeking leave to dismiss the SAC

pursuant to Rules 12(b)(6) and 12(b)(2). (Dkt. #80). As a pre-motion

conference had already been held, and briefing on the other two motions to

dismiss was well underway, the Court forwent its usual pre-motion conference

requirement and ordered the parties to proceed directly to briefing on the BPP

Defendants’ motion to dismiss. (Dkt. #81).

      After receiving an extension, Plaintiff filed her consolidated opposition to

the Abbott Defendants’ and Parks’s motions to dismiss on July 19, 2023. (Dkt.

#82, 83). The Abbott Defendants and Parks each filed their replies on

August 9, 2023. (Dkt. #84, 85). After the completion of the briefing on the

Abbott Defendants’ and Parks’s motions to dismiss, the BPP Defendants filed

their motion to dismiss on August 11, 2023 (Dkt. #86, 87); Plaintiff filed her




                                        13
     Case 1:22-cv-05944-KPF        Document 92       Filed 03/19/24    Page 14 of 49




opposition to the BPP Defendants’ motion on September 21, 2023 (Dkt. #90);

and the BPP Defendants filed their reply on October 6, 2023 (Dkt. #91).

                                     DISCUSSION

      The Court’s analysis proceeds in two parts. First, the Court considers

the challenges to personal jurisdiction raised by Parks and incorporated by the

BPP Defendants in their motion. Second, the Court evaluates the challenges to

the merits of Plaintiff’s claim raised by the Abbott Defendants and incorporated

by both Parks and the BPP Defendants in their motions.

A.    Plaintiff Has Sufficiently Pleaded Personal Jurisdiction over Parks
      and the BPP Defendants
      To begin, Parks and the BPP Defendants move to dismiss Plaintiff’s

claims on the basis that Plaintiff cannot establish that either subset of

Defendants is subject to personal jurisdiction in New York. 4 However, and for

the reasons set forth herein, the Court finds that, for the purposes of the

motions to dismiss, Plaintiff has plausibly alleged that Parks and the BPP

Defendants are subject to specific personal jurisdiction in New York arising

from their business discussions with Plaintiff in the state.




4     The BPP Defendants incorporate Parks’s jurisdictional arguments by reference, at the
      conclusion of their memorandum of law in support of their motion to dismiss, and do
      not advance any additional jurisdictional arguments beyond those raised by Parks,
      consistent with the Court’s instruction that the BPP Defendants “do not need to
      reiterate arguments already made in briefing … Parks’s motions.” (Dkt. #81; BPP
      Br. 10).



                                            14
     Case 1:22-cv-05944-KPF      Document 92     Filed 03/19/24   Page 15 of 49




      1.     Applicable Law

             a.    Motions to Dismiss Pursuant to Rule 12(b)(2)

      “On a Rule 12(b)(2) motion to dismiss for lack of personal jurisdiction,

the plaintiff bears the burden of showing that the court has jurisdiction over

the defendant.” Metro. Life Ins. Co. v. Robertson-Ceco Corp., 84 F.3d 560, 566

(2d Cir. 1996). To survive a motion to dismiss, a plaintiff need only provide

“legally sufficient allegations of jurisdiction.” Id. A plaintiff makes such a

showing through “an averment of facts that, if credited by the ultimate trier of

fact, would suffice to establish jurisdiction over the defendant.” Id. at 567

(alteration adopted) (quoting Ball v. Metallurgie Hoboken-Overpelt, S.A., 902

F.2d 194, 197 (2d Cir. 1990)).

      In resolving a Rule 12(b)(2) motion, a court must construe the plaintiff’s

jurisdictional allegations “in the light most favorable to the plaintiff” and

resolve all doubts “in the plaintiff’s favor[.]” Elsevier, Inc. v. Grossman, 77 F.

Supp. 3d 331, 341 (S.D.N.Y. 2015) (quoting A.I. Trade Fin., Inc. v. Petra Bank,

989 F.2d 76, 79-80 (2d Cir. 1993)). Further, while a court may consider

materials beyond the pleadings, these too must be “construe[d] … in the light

most favorable to the plaintiff[].” Licci ex rel. Licci v. Lebanese Canadian Bank,

SAL, 732 F.3d 161, 167 (2d Cir. 2013) (citing Chloé v. Queen Bee of Beverly

Hills, LLC, 616 F.3d 158, 163 (2d Cir. 2010)). Still, “[a] prima facie case

requires non-conclusory fact-specific allegations or evidence showing that

activity that constitutes the basis of jurisdiction has taken place.” Chirag v. MT




                                         15
     Case 1:22-cv-05944-KPF         Document 92       Filed 03/19/24      Page 16 of 49




Marida Marguerite Schiffarhrts, 604 F. App’x 16, 19 (2d Cir. 2015) (summary

order) (citing Jazini v. Nissan Motor Co., Ltd., 148 F.3d 181, 185 (2d Cir. 1998)).

             b.      Specific Personal Jurisdiction Under New York Law 5

      Three requirements must be met for a court to exercise specific personal

jurisdiction over a defendant: “First, the plaintiff’s service of process upon the

defendant must have been procedurally proper. Second, there must be a

statutory basis for personal jurisdiction that renders such service of process

effective[.] Third, the exercise of personal jurisdiction must comport with

constitutional due process principles.” Waldman v. Palestine Liberation Org.,

835 F.3d 317, 327 (2d Cir. 2016) (quoting Licci, 673 F.3d at 59-60).

      Here, neither party disputes that all Defendants have been properly

served, thereby satisfying the first requirement. Proceeding to the statutory

basis for jurisdiction, New York’s long-arm statute, contained in New York Civil

Practice Law and Rule (“C.P.L.R.”) § 302(a), sets forth various bases on which a

court may exercise personal jurisdiction over a non-domiciliary. In particular,

C.P.L.R. § 302(a) provides that “a court may exercise personal jurisdiction over

any non-domiciliary … who in person or through an agent:

             1. transacts any business within the state or contracts
             anywhere to supply goods or services in the state; or


5     Parks also contends that personal jurisdiction cannot be reached under a theory of
      general jurisdiction, which contention Plaintiff does not address in her opposition brief.
      (Compare Parks Br. 10, with Pl. Abbott Opp. 16-19). Accordingly, the Court finds this
      argument to be conceded. See AT & T Corp. v. Syniverse Techs., Inc., No. 12 Civ. 1812
      (NRB), 2014 WL 4412392, at *7 (S.D.N.Y. Sept. 8, 2014) (finding that plaintiff’s “silence
      concedes the point” where it failed to discuss opponent’s argument in its opposition to a
      motion for summary judgment); In re UBS AG Secs. Litig., No. 07 Civ. 11225 (RJS), 2012
      WL 4471265, at *11 (S.D.N.Y. Sept. 28, 2012) (considering argument not addressed in
      opposition to motion to dismiss to be conceded).



                                             16
     Case 1:22-cv-05944-KPF       Document 92    Filed 03/19/24   Page 17 of 49




            2. commits a tortious act within the state, except as to
            a cause of action for defamation of character arising
            from the act; or
            3. commits a tortious act without the state causing
            injury to person or property within the state, except as
            to a cause of action for defamation of character arising
            from the act, if he
                     (i) regularly does or solicits business, or engages
                     in any other persistent course of conduct, or
                     derives substantial revenue from goods used or
                     consumed or services rendered, in the state, or
                     (ii) expects or should reasonably expect the act to
                     have consequences in the state and derives
                     substantial      revenue    from   interstate    or
                     international commerce; or
            4. owns, uses or possesses any real property situated
            within the state.

C.P.L.R. § 302(a).

      After concluding that “personal jurisdiction is proper under § 302(a) of

the New York long-arm statute, th[e] Court must make the ultimate

determination whether this jurisdiction satisfies constitutional due process.”

Ehrenfeld v. Mahfouz, 489 F.3d 542, 547 (2d Cir. 2007). The due process test

for personal jurisdiction “has two related components: the ‘minimum contacts’

inquiry and the ‘reasonableness’ inquiry.” Metro. Life Ins. Co., 84 F.3d at 567.

“The import of the ‘reasonableness’ inquiry varies inversely with the strength of

the ‘minimum contacts’ showing.” Bank Brussels Lambert v. Fiddler Gonzalez

& Rodriguez, 305 F.3d 120, 129 (2d Cir. 2002).

      2.    Plaintiff’s Allegations Support Personal Jurisdiction Under
            C.P.L.R. § 302(a)(1)

      In this case, Plaintiff maintains that jurisdiction is appropriate over

Parks pursuant to C.P.L.R. § 302(a)(1), which governs a non-domiciliary who


                                         17
     Case 1:22-cv-05944-KPF      Document 92     Filed 03/19/24    Page 18 of 49




“transacts any business within the state or contracts anywhere to supply goods

or services in the state.” To establish jurisdiction under this provision, courts

apply a two-part test, considering “[i] whether the defendant ‘transacts any

business’ in New York and, if so, [ii] whether this cause of action ‘aris[es] from’

such a business transaction.” Best Van Lines, Inc. v. Walker, 490 F.3d 239,

246 (2d Cir. 2007) (citing Deutsche Bank Sec., Inc. v. Montana Bd. of Invs., 7

N.Y.3d 65, 71 (2006)). Construing Plaintiff’s jurisdictional allegations in a

favorable light and resolving all doubts in Plaintiff’s favor, as is required, the

Court finds that Plaintiff has satisfied each element. See A.I. Trade Fin., 989

F.2d at 79-80.

      With respect to the first part of the test, New York courts define

“transact[ing] business” as purposeful activity — “‘some act by which the

defendant purposefully avails itself of the privilege of conducting activities

within the forum State, thus invoking the benefits and protections of its laws.’”

McKee Elec. Co. v. Rauland-Borg Corp., 20 N.Y.2d 377, 382 (1967) (quoting

Hanson v. Denckla, 357 U.S. 235, 253 (1958)). What is more, courts look to

“the totality of the defendant’s activities within the forum” to determine

whether a defendant has “transact[ed] business” in such a way that it

constitutes “purposeful activity” in satisfaction of the first part of the test.

Sterling Nat’l Bank & Trust Co. of N.Y. v. Fid. Mortg. Invs., 510 F.2d 870, 873-84

(2d Cir. 1975) (internal quotation marks and citation omitted).

      Turning to the facts of this case, Plaintiff — who resides in New York —

alleges that she engaged in email correspondence with Wright on behalf of Blue



                                         18
     Case 1:22-cv-05944-KPF         Document 92       Filed 03/19/24     Page 19 of 49




Park Productions, through which correspondence she received, signed, and

returned the BPP NDA in and from New York. (SAC ¶¶ 53-54). 6 Cf. PDO Max,

Inc. v. Malcmacher, No. 21 Civ. 1274 (GTS) (ML), 2022 WL 17415123, at *7

(N.D.N.Y. Dec. 5, 2022) (“The business-transactions prong of the test for

specific personal jurisdiction may be met by [defendant’s execution of] [an]

MDA [i.e., Mutual Non-Disclosure Agreement] with a New York business.”

(citing Best Van Lines, 490 F.3d at 249)). Plaintiff thereafter sent copies of the

Work and a related “story bible” to BPP from New York. (Id. ¶¶ 55-56). Finally,

Plaintiff alleges that she had at least one call with Parks and Wright, while

Plaintiff was in New York, in which Parks and Wright told Plaintiff that they

would present her Work to New York-based television outlets and provided

Plaintiff with their notes. (Id. ¶¶ 63-65).

      Moreover, Plaintiff’s subsequent discussions with and provision of her

Work to Parks and the BPP Defendants, which activities were conducted from

New York in anticipation of a possible placement deal (albeit one that was


6     Parks emphasizes that she did not actually send the non-disclosure agreement to
      Plaintiff, but rather that the agreement was transmitted by her partner, Wright. (Parks
      Reply 4). Such an argument is immaterial at this stage, as Plaintiff sufficiently alleges
      that the NDA was transmitted by Wright for the benefit of Blue Park Productions, LLC,
      of which LLC both Parks and Wright were co-founders, and that Parks and Wright both
      took subsequent actions on behalf of themselves and Blue Park Productions, LLC by
      meeting with Plaintiff to discuss her Work. See Allstate Ins. Co. v. Mah, No. 19 Civ.
      2866 (ARR) (RML), 2019 WL 5537589, at *4 (E.D.N.Y. Oct. 25, 2019) (“The conduct of
      an LLC member can in some circumstances be attributed to the LLC for purposes of
      jurisdiction,” where there are “additional facts alleged beyond the bare fact of being a
      part owner.” (first citing New Media Holding Co. LLC v. Kagalovsky, 949 N.Y.S.2d 22, 24
      (1st Dep’t 2012) (holding that a Delaware LLC was subject to jurisdiction in New York
      based on controlling partner’s negotiation of contract in New York, where he acted with
      knowledge and consent of other partners), and then citing CutCo Indus., Inc. v.
      Naughton, 806 F.2d 361, 366 (2d Cir. 1986) (holding that conduct of a partner in a
      partnership can be the basis for jurisdiction because New York law states that every
      partner is an agent of the partnership))).



                                             19
     Case 1:22-cv-05944-KPF         Document 92       Filed 03/19/24      Page 20 of 49




never consummated), constitute “preliminary activities … [that] substantially

advance, or were essential to, the formation of [an] [agreement].” SHLD, LLC v.

Hall, No. 15 Civ. 6225 (LLS), 2016 WL 659109, at *5 (S.D.N.Y. Feb. 17, 2016)

(observing that the execution of “a non-disclosure agreement between the

plaintiff[] and [defendant]” supported a finding of personal jurisdiction under

C.P.L.R. § 302(a)(1) (citing Ainbinder v. Potter, 282 F. Supp. 2d 180, 187

(S.D.N.Y. 2003) (“Preliminary negotiations conducted in New York qualify as a

transaction of business if they have substantially advanced or were

substantively important or essential to the formation of a contract outside New

York.”))). 7 The foregoing allegations, taken as true and considered in their

totality, support the preliminary finding that Parks, Wright, and BPP

transacted business in New York. (SAC ¶ 51).

      As to the second element necessary to establish jurisdiction pursuant to

C.P.L.R. § 302(a)(1) — “whether this cause of action ‘aris[es] from’” Defendants’

business transactions in New York, Best Van Lines, 490 F.3d at 246 — it is



7     Here, it is the specific allegation of the provision of the BPP NDA for execution by
      Plaintiff in New York, accompanied by the allegations that Parks and the BPP
      Defendants’ “projected [themselves] into New York” to meet with Plaintiff in anticipation
      of a potential business transaction, Bank Brussels Lambert v. Fiddler Gonzalez &
      Rodriguez, 171 F.3d 779, 789 (2d Cir. 1999), that distinguishes those cases, identified
      by Parks, in which courts found no specific personal jurisdiction based on allegations of
      phone or video calls, emails, faxes, and paper mail alone. (See Parks Reply 4). See Yih
      v. Taiwan Semiconductor Mfg. Co., 815 F. App’x 571, 574-75 (2d Cir. 2020) (summary
      order) (holding that “two Skype interviews and emails through a third-party agent
      regarding a position in Taiwan for which [the plaintiff] was not hired [] were too limited
      to amount to a purposeful transaction of business in New York”); DirecTV Latin Am.,
      LLC, v. Park, 610, LLC, 691 F. Supp. 2d 405, 420 (S.D.N.Y. 2010) (finding that
      defendant’s telephone conference calls, without more, were insufficient to establish that
      defendant “‘projected himself’ into New York to engage in a ‘sustained and substantial
      transaction of business’” (quoting Parke-Bernet Galleries, Inc. v. Franklyn, 26 N.Y.2d 13,
      18 (1970) (alteration adopted))).



                                             20
     Case 1:22-cv-05944-KPF     Document 92    Filed 03/19/24   Page 21 of 49




evident that the alleged claims of infringement arise from BPP’s business

transactions with Plaintiff, through Parks and Wright, given the causal

connection between the execution of the NDA and Plaintiff’s provision of the

allegedly infringed-upon Work to BPP; Plaintiff’s allegations of subsequent

conversations with Parks and Wright regarding her Work and the possibility of

its placement at various studios, including the New York-based Defendant

ABC; and Plaintiff’s allegations that Parks, Wright, and BPP provided a copy of

Plaintiff’s Work to the Abbott Defendants, giving rise to the current claim.

(SAC ¶¶ 48-71).

      Having found specific jurisdiction appropriate under C.P.L.R. § 302(a)(1),

the Court proceeds to the accompanying due process considerations. As noted

above, this analysis is similarly comprised of two elements, as the Court must

consider whether the “out-of-state defendant … [i] has ‘certain minimum

contacts with [New York] [ii] such that maintenance of the suit does not offend

traditional notions of fair play and substantial justice.’” Dong Chul Kim v.

Harte Hanks, Inc., 425 F. Supp. 3d 246, 255 (S.D.N.Y. 2019) (quoting Int’l Shoe

Co. v. State of Wash., Off. of Unemployment Comp. & Placement, 326 U.S. 310,

316 (1945)).

      Here, the first element is satisfied, because the Court’s finding that

Plaintiff has plausibly alleged that Parks and Wright, individually and through

BPP, transacted business with Plaintiff in New York also provides that Plaintiff

has met her burden to show that certain minimum contacts with New York

exist. Cf. Best Van Lines, 490 F.3d at 247 (observing that the “‘purposeful



                                       21
     Case 1:22-cv-05944-KPF      Document 92     Filed 03/19/24    Page 22 of 49




availment’ language defining ‘transacting business’ has been adopted by the

New York Court of Appeals from Supreme Court cases analyzing the

constitutional limitations on a state’s power to assert personal jurisdiction over

a non-domiciliary defendant” (alteration adopted) (quoting Kreutter v.

McFadden Oil Corp., 71 N.Y.2d 460, 467 (1988))).

      Moving to the second element, when weighing traditional notions of fair

play and substantial justice, the Court considers

            [i] the burden that the exercise of jurisdiction will
            impose on the defendant; [ii] the interests of the forum
            state in adjudicating the case; [iii] the plaintiff’s interest
            in obtaining convenient and effective relief; [iv] the
            interstate judicial system’s interest in obtaining the
            most efficient resolution of the controversy; and [v] the
            shared interest of the states in furthering substantive
            social policies.

Metro. Life Ins. Co., 84 F.3d at 568. Parks’s argument, in relevant part,

addresses only the first and third factors, maintaining that “[t]he burden on

Ms. Parks here outweighs all other interests, including any interest [Plaintiff]

has in adjudicating her claim in the Southern District of New York.” (Parks

Br. 16). Still, the costs in time and expense faced by Plaintiff to prosecute her

action in the Western District of Pennsylvania, wherein Parks currently resides,

present the mirror-image of Parks’s burden argument, rendering the competing

considerations of burden neutral, absent the development of additional facts.

Moreover Parks’s mere recitation that she “lives and works … over 350 miles

away” from New York, and that “[d]efending this suit, which will most likely

require Ms. Parks to be deposed and participate in other hearings and court

proceedings” in New York (id. at 16-17), is tempered by the fact that “the


                                         22
     Case 1:22-cv-05944-KPF     Document 92     Filed 03/19/24   Page 23 of 49




conveniences of modern communication and transportation ease what would

have been a serious burden only a few decades ago,” Metro. Life Ins. Co., 84

F.3d at 574.

      Parks does not address any of the remaining factors in her due process

argument, and the Court’s own review finds that they are at best either neutral

or slightly in favor of this Court’s jurisdiction. Considerations of efficiency

favor personal jurisdiction over Parks in the Southern District of New York,

given the multi-defendant nature of this case and the fact that the Abbott

Defendants, who would be key witnesses and provide critical evidence in

Plaintiff’s claims against Parks, have consented to litigating this case in this

District. See Metro. Life Ins. Co., 84 F.3d at 574 (“In evaluating this factor,

courts generally consider where witnesses and evidence are likely to be

located.”). Similarly, the interests of New York, as the forum state, slightly

favor jurisdiction, given Plaintiff’s status as a New York resident and the fact

that the allegations plausibly support the finding that at least some conduct

took place in New York. Finally, the shared interests of the states in furthering

substantive social policies are neutral where the parties’ dispute exclusively

concerns federal copyright law. Cf. T.M. Hylwa, M.D., Inc. v. Palka, 823 F.2d

310, 316 (9th Cir. 1987) (observing that interstate federalism concerns are

neutral, as neither state has any greater interest in “resolving ERISA

disputes … involving one of its residents”); Chamberlain Grp., Inc. v. Techtronic

Indus. Co., Ltd., No. 16 Civ. 6097 (HDL), 2017 WL 3394741, at *7 (N.D. Ill.

Aug. 8, 2017) (“[T]he shared interests of the States in furthering fundamental



                                        23
     Case 1:22-cv-05944-KPF      Document 92     Filed 03/19/24   Page 24 of 49




social policies [] have little purchase [w]here [] the case involves the application

of uniform federal patent law, not state law.”). Considering these factors as a

whole, and drawing all inferences in Plaintiff’s favor, the Court finds that a

preliminary exercise of personal jurisdiction over Parks (and, by extension, the

BPP Defendants) would not offend traditional notions of fair play and

substantial justice, and therefore that Plaintiff has satisfied the due process

prong of the analysis.

      Accordingly, the Court, on the preliminary record before it, finds that

Plaintiff has provided “legally sufficient allegations of jurisdiction.” Metro. Life

Ins. Co., 84 F.3d at 566. That is not to say that Plaintiff’s jurisdictional

allegations are ironclad, as “[e]ventually personal jurisdiction must be

established by a preponderance of the evidence, either at an evidentiary

hearing or at trial.” A.I. Trade Fin., 989 F.2d at 79-80. Still, the Court’s

subsequent finding, see infra, that dismissal of Plaintiff’s entire action under

Rule 12(b)(6) is appropriate, renders moot the need for any further

jurisdictional discovery or potential evidentiary hearing.

B.    Plaintiff Has Not Plausibly Alleged That Defendants Engaged in
      Illegal Copying of the Work

      Proceeding to the merits of the parties’ dispute, Plaintiff’s sole cause of

action is for copyright infringement, pursuant to the Copyright Act, 17 U.S.C.

§ 501, based on Defendants’ alleged unlawful copying This School Year. For the

reasons discussed below, this claim, along with any hypothetical ancillary

claim for contributory infringement, must be dismissed. Plaintiff has not




                                         24
     Case 1:22-cv-05944-KPF       Document 92     Filed 03/19/24    Page 25 of 49




plausibly alleged that Defendants engaged in any unlawful copying of the

Work, as the Court’s comparison of This School Year and Abbott Elementary

makes plain that no discerning ordinary observer would find the works to be

substantially similar.

      1.     Applicable Law

             a.     Motions to Dismiss Pursuant to Federal Rule of Civil
                    Procedure 12(b)(6)

      Under Rule 12(b)(6), a defendant may seek dismissal of a plaintiff’s

action for “failure to state a claim upon which relief can be granted.” Fed. R.

Civ. P. 12(b)(6). When considering a motion to dismiss pursuant to Rule

12(b)(6), a court must “draw all reasonable inferences in [the] [p]laintiff[’s]

favor, ‘assume all well-pleaded factual allegations to be true, and determine

whether they plausibly give rise to an entitlement to relief.’” Faber v. Metro. Life

Ins. Co., 648 F.3d 98, 104 (2d Cir. 2011) (quoting Selevan v. N.Y. Thruway

Auth., 584 F.3d 82, 88 (2d Cir. 2009)); see also Ashcroft v. Iqbal, 556 U.S. 662,

678 (2009). A plaintiff is entitled to relief if the complaint contains “enough

facts to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 570 (2007); see also In re Elevator Antitrust Litig., 502

F.3d 47, 50 (2d Cir. 2007) (“While Twombly does not require heightened fact

pleading of specifics, it does require enough facts to ‘nudge [plaintiff’s] claims

across the line from conceivable to plausible.’” (quoting Twombly, 550 U.S. at

570)). Moreover, “[w]here a complaint pleads facts that are ‘merely consistent

with’ a defendant’s liability, it ‘stops short of the line between possibility and




                                          25
     Case 1:22-cv-05944-KPF      Document 92     Filed 03/19/24   Page 26 of 49




plausibility of entitlement to relief.’” Iqbal, 556 U.S. at 678 (quoting Twombly,

550 U.S. at 557).

      “In considering a motion to dismiss for failure to state a claim pursuant

to Rule 12(b)(6), a district court may consider the facts alleged in the

complaint, documents attached to the complaint as exhibits, and documents

incorporated by reference in the complaint.” DiFolco v. MSNBC Cable L.L.C.,

622 F.3d 104, 111 (2d Cir. 2010); see also Fed. R. Civ. P. 10(c) (“A copy of a

written instrument that is an exhibit to a pleading is a part of the pleading for

all purposes.”); see generally United States ex rel. Foreman v. AECOM, 19 F.4th

85, 106 (2d Cir. 2021), cert. denied, 142 S. Ct. 2679 (2022). Beyond this

narrow universe of materials, a court may also consider “facts of which judicial

notice may properly be taken under Rule 201 of the Federal Rules of Evidence”

and may “disregard allegations in a complaint that contradict or are

inconsistent with judicially-noticed facts.” Exch. Listing, LLC v. Inspira Techs.,

Ltd., 661 F. Supp. 3d 134, 153 (S.D.N.Y. 2023) (internal quotation marks and

citations omitted).

             b.       Claims for Copyright Infringement Under the Copyright
                      Act of 1976

      “To establish a claim of copyright infringement, ‘two elements must be

proven: [i] ownership of a valid copyright, and [ii] copying of constituent

elements of the work that are original.’” Abdin v. CBS Broad. Inc., 971 F.3d 57,

66 (2d Cir. 2020) (quoting Feist Publ’ns, Inc. v. Rural Tel. Serv. Co., 499 U.S.

340, 361 (1991)). “To satisfy the second element, a plaintiff ‘must demonstrate

that: [i] the defendant has actually copied the plaintiff’s work; and [ii] the


                                         26
     Case 1:22-cv-05944-KPF     Document 92     Filed 03/19/24   Page 27 of 49




copying is illegal because a substantial similarity exists between the

defendant’s work and the protectible elements of plaintiff’s [work].” Id. (quoting

Yurman Design, Inc. v. PAJ Inc., 262 F.3d 101, 110 (2d Cir. 2001)).

      Courts apply two different standards when assessing claims of

infringement. “Where the disputed works are entirely protectible, ‘[t]he

standard test for substantial similarity between two items is whether an

ordinary observer, unless [she] set out to detect the disparities, would be

disposed to overlook them, and regard [the] aesthetic appeal as the same.’”

Effie Film, LLC v. Pomerance, 909 F. Supp. 2d 273, 291 (S.D.N.Y. 2012)

(quoting Yurman Design, 262 F.3d at 111). “Where a work contains both

protectable and unprotectable elements, however, the analysis must be ‘more

discerning.’” Montgomery v. Holland, 408 F. Supp. 3d 353, 362 (S.D.N.Y. 2019)

(“Montgomery I”) (quoting Peter F. Gaito Arch., LLC v. Simone Dev. Corp., 602

F.3d 57, 66 (2d Cir. 2010)), aff’d sub nom. Montgomery v. NBC Television, 833

F. App’x 361 (2d Cir. 2020) (summary order). “Specifically, ‘[the Court] must

attempt to extract the unprotectible elements from our consideration and ask

whether the protectible elements, standing alone, are substantially similar.’”

Effie Film, 909 F. Supp. 2d at 291 (quoting Knitwaves, Inc. v. Lollytogs Ltd.

(Inc.), 71 F.3d 996, 1002 (2d Cir. 1995)).

      “Only ‘the expression of ideas’ is protected, ‘not the ideas themselves.’”

Montgomery I, 408 F. Supp. 3d at 362 (quoting Gaito, 602 F.3d at 67). As

applied in detail below, “[c]ourts have developed a number of general principles

to identify the elements of a work that are ‘free for the taking’ and therefore not



                                        27
     Case 1:22-cv-05944-KPF     Document 92     Filed 03/19/24   Page 28 of 49




protectable.” Id. (quoting Tufenkian Imp./Exp. Ventures, Inc. v. Einstein

Moomjy, Inc., 338 F.3d 127, 134-35 (2d Cir. 2003)). For example, “facts are not

copyrightable[.]” Feist, 499 U.S. at 344. Further, “copyright protection does

not extend to ‘scènes à faire,’ or devices, elements, or sequences of events that

‘necessarily result from the choice of a setting or situation.’” Montgomery I, 408

F. Supp. 3d at 363 (quoting Williams, 84 F.3d at 587).

      “Still, ‘even a compilation of unprotectable elements may enjoy copyright

protection when those elements are arranged in an original manner.’”

Montgomery I, 408 F. Supp. 3d at 363 (quoting Hogan v. DC Comics, 48 F.

Supp. 2d 298, 309 (S.D.N.Y. 1999)). “Ultimately, then, the court’s inquiry

‘focuses on whether the alleged infringer has misappropriated the original way

in which the author has selected, coordinated, and arranged’ the elements of …

her work.’” Id. (quoting Gaito, 602 F.3d at 66). And in this inquiry, the court is

“principally guided by ‘comparing the contested [work’s] total concept and

overall feel with that of the allegedly infringed work,’ as instructed by [the

court’s] ‘good eyes and common sense,’” Gaito, 602 F.3d at 66 (first quoting

Tufenkian, 338 F.3d at 133, and then quoting Hamil Am. Inc. v. GFI, 193 F.3d

92, 102 (2d Cir. 1999)), as well as an examination of “similarities in the theme,

setting, characters, time sequence, plot, and pace,” Montgomery I, 408 F. Supp.

3d at 363 (quoting Williams, 84 F.3d at 589). “It is only where the points of

dissimilarity exceed those that are similar and those similar are — when

compared to the original work — of small import quantitatively or qualitatively




                                        28
     Case 1:22-cv-05944-KPF        Document 92       Filed 03/19/24     Page 29 of 49




that a finding of no infringement is appropriate.” Rogers v. Koons, 960 F.2d

301, 308 (2d Cir. 1992).

      “Though the issue of substantial similarity is frequently a fact issue for

jury resolution,” Warner Bros., Inc. v. Am. Broad. Cos., 720 F.2d 231, 239 (2d

Cir. 1983), “[t]he Second Circuit has made it plain that where, as here, the

works are incorporated into the complaint by reference, ‘it is entirely

appropriate for [a court] to consider the similarity between those works in

connection with a motion to dismiss, because the court has before it all that is

necessary in order to make such an evaluation,’” Amanze v. Adeyemi, No. 18

Civ. 8808 (NRB), 2019 WL 2866071, at *5 n.4 (S.D.N.Y. July 3, 2019) (quoting

Gaito, 602 F.3d at 64), aff’d, 824 F. App’x 86 (2d Cir. 2020) (summary order).

“In other words, ‘no discovery or fact-finding is typically necessary, because

what is required is only a ... comparison of the works.’” Montgomery I, 408 F.

Supp. 3d at 363 (quoting Gaito, 602 F.3d at 64). “On such a comparison, ‘the

works themselves supersede and control ... any contrary allegations,

conclusions[,] or descriptions of the works contained in the pleadings.’” Id. at

363-64 (quoting Gaito, 602 F.3d at 64).

      2.     Plaintiff Fails to Establish Substantial Similarity

      The Abbott Defendants, and Parks and the BPP Defendants by

incorporation, move under Rule 12(b)(6) to dismiss Plaintiff’s copyright claims

principally on the basis that the works are not substantially similar. 8


8     The Abbott Defendants raise in a footnote their theory that Plaintiff’s allegations of
      access rest on pure speculation and cannot support a finding that the Defendants had
      a “reasonable possibility” of access. (Abbott Br. 6 n.7). As the Court decides that


                                            29
     Case 1:22-cv-05944-KPF         Document 92       Filed 03/19/24     Page 30 of 49




Defendants attack the works’ similarity at both specific and general levels.

First, Defendants maintain that any similarities identified by Plaintiff across

the two works either have their root in common and unprotectible elements

that cannot support a copyright claim, or are not actually similar at all, as

evidenced by a discerning ordinary observer’s consideration of both works.

(Abbott Br. 7-19). 9 Second, Defendants argue that the total concept and overall

feel of both works are distinct. (Id. at 17-18). For the reasons set forth below,

the Court finds Defendants to be correct on both points, and therefore grants

their motion to dismiss.

             a.     The Specific Elements of Both Works Are Not
                    Substantially Similar

      The Court begins its analysis by “extract[ing] the unprotectible elements

from [its] consideration and ask[ing] whether the protectible elements, standing

alone, are substantially similar.” Knitwaves, 71 F.3d at 1002. In service of her

allegations and pertinent to the Court’s task, Plaintiff proffers Exhibit E to her

SAC, which lists each of her twenty-two alleged “substantial similarities [in]

plot, characters, dialogue, setting[,] and theme.” (See generally SAC, Ex. E). In

this case, however, the Court’s own close review of Plaintiff’s list, alongside its

broader review of the works themselves, finds that each of Plaintiff’s alleged




      Defendants’ motions to dismiss must be granted because Plaintiff has failed to establish
      that the two works are substantially similar, it need not reach Defendants’ arguments
      regarding access.
9     Plaintiff does not expressly dispute that the discerning ordinary observer standard
      should apply in this case. (See Pl. Abbott Opp. 6-7). Nor could she, given that the
      works at issue in this case clearly “contain[] both protectable and unprotectable
      elements.” Montgomery v. Holland, 408 F. Supp. 3d 353, 362 (S.D.N.Y. 2019).



                                             30
     Case 1:22-cv-05944-KPF         Document 92       Filed 03/19/24     Page 31 of 49




similarity either implicates unprotectible general expressions, or does not

actually implicate any similarity at all, as the underlying works reveals that the

works are not similar in the manner alleged. Williams, 84 F.3d at 590

(cautioning that a plaintiff’s list of similarities, on its own, risks being

“inherently subjective and unreliable” (internal quotation marks and citation

omitted)).

                    i.      The Plot and Themes of Both Works Are
                            Appreciably Different

      For starters, Plaintiff maintains that the theory of comedy underlying the

plots of both works is substantially similar: Plaintiff suggests that the

protagonists struggle with “the same goal: to both survive and thrive in their

chosen professions and cultivate a spirit of learning and accomplishment

amongst the students,” amidst a “bureaucratic system that continually pitches

curveball after curveball to the teachers.” (Pl. Abbott Opp. 11). Plaintiff’s

argument, however, suffers from two principal flaws. First, a plot based on an

idealistic teacher’s struggle to inspire her students in the face of bureaucratic

challenges from a school’s administration is a generalized idea that is not

copyrightable. 10 The same is true with respect to similarities such as both


10    Indeed, similar general plots about the idealism of teachers and other educators, and
      the challenges of school administrations, are implicated in myriad films including
      Akeelah and the Bee; Coach Carter; Dead Poets Society, and To Sir, with Love, inter alia,
      and the Court may take judicial notice of the general plot for each, as these facts are
      both generally known within the Court’s territorial jurisdiction; and capable of accurate
      and ready determination by resort to accurate sources. Accord Fed. R. Evid. 201; see
      also Twentieth Cent. Fox Film Corp. v. Marvel Enters., Inc., 155 F. Supp. 2d 1, 41 & n.71
      (S.D.N.Y. 2001) (taking judicial notice of the film Star Wars, “one of the most well-
      known and widely viewed science fiction films,” as the facts of a film of such magnitude
      are “a matter of common and general knowledge in [the Court’s] jurisdiction” (citing
      Fed. R. Evid. 201(b))).



                                             31
     Case 1:22-cv-05944-KPF     Document 92     Filed 03/19/24   Page 32 of 49




works’ use of “the same theme of set up and disappointment about a ‘Big

Surprise,’” which, without more, are simply generic plot devices common

across myriad works. (SAC, Ex. E ¶ 5). See Denker v. Uhry, 820 F. Supp. 722,

732 (S.D.N.Y. 1995) (“[G]eneralized plot devices … are not entitled to copyright

protection.”).

      Second, while both works depict the lives of idealistic teachers working in

an inner-city public school, “in moving to the next level of specificity,

differences in plot and structure far outweigh this general likeness.” Arden v.

Columbia Pictures Indus., Inc., 908 F. Supp. 1248, 1260 (S.D.N.Y. 1995)

(quoting Walker v. Time Life Films, Inc., 784 F.2d 44, 49 (2d Cir. 1986))). For

example, while Plaintiff argues that the two theories of comedy are the same

because “the main characters [in both works] use nearly identical

[introductory] speeches to express their frustration and their optimism about

teaching in a challenging inner-city school,” Plaintiff’s position breaks down

upon an actual review of both works’ opening scenes. (SAC, Ex. E ¶ 2). This

School Year opens on a darker note, finding the “naïve, bothered, [and]

unenthused” Davis alone, “in distress,” “repeatedly … bang[ing] her head

against a book.” (TSY 1). By contrast, Abbott Elementary introduces Teagues

as a “ball of optimistic energy, quirky, bookish, [and] ready to take on the

world,” situating her “mid-lesson sitting with some [second] graders at their

desks.” (AE 1).

      These differences in tone are thrown into sharper relief by the dialogue

that follows. In This School Year, Davis begins the show apprehensive,



                                        32
     Case 1:22-cv-05944-KPF     Document 92     Filed 03/19/24   Page 33 of 49




questioning: “Why am I here? Do I not deserve more in life? I’m not trying to

question you God. I mean, I’m just saying. I’m just asking you to get me

through this school year … alive. No? OK.” (TSY 1 (alteration in original)).

Davis’s manifestations of her exasperation and distress (i.e., her banging of her

head against a book) require intervention by her colleagues, prompting an

extensive dialogue about Davis’s desire to obtain tenure and Davis’s palpable

disappointment at learning that her chances of tenure may have been derailed

by the replacement of the school’s principal. (Id. at 1-4). Indeed, news of that

principal’s replacement prompts Ms. Davis to appear “as if [she] was just

stabbed in the back,” “on the brink of tears,” and “sobbing,” all to the

skepticism of her colleagues, who chide her for being “dramatic.” (Id. at 4; see

also id. (“Mr. West: … and the [O]scar goes to…”)).

      Far from “copy[ing] the identical message and tone for the opening

speech[] of [its] protagonist,” as Plaintiff would have it, Abbott Elementary

introduces its protagonist and supporting characters in a markedly more

happy-go-lucky way. (Pl. Abbott Opp. 12). Teagues’s monologue is decidedly

more optimistic and hopeful than Davis’s, and is delivered in a different format,

intercut with lighthearted vignettes depicting the relative chaos of her

classroom and those of her colleagues, unlike the pointed dialogue in This

School Year. (AE 1-3). Even the references to Teagues’s frustrations are

depicted in a comedic, upbeat light. (Id. at 3 (suggesting Teagues “sub[bed] out

therapy for axe-throwing,” and interposing a cutscene depicting the activity)).

Ultimately, the “entirely different contexts” of the opening monologues and



                                        33
     Case 1:22-cv-05944-KPF     Document 92    Filed 03/19/24   Page 34 of 49




their differences in tone, Shull v. TBTF Prods., Inc., No. 20-3529, 2021 WL

3027181, at *2 (2d Cir. July 19, 2021) (summary order), defeat Plaintiff’s

attempt, by ipse dixit alone, to declare the two speeches “nearly identical” (SAC,

Ex. E ¶ 2).

      Likewise, while the pilot episodes of both series contain subplots

involving “the lead characters losing a crucial piece of their classroom

furniture,” the actual execution of these subplots is markedly different across

both works. (SAC, Ex. E ¶ 5). As an initial matter, the subplot itself follows

naturally from the broader, unprotectable theme of working in an under-

resourced public school, rather than from Plaintiff’s creativity. See

MyWebGrocer, LLC v. Hometown Info, Inc., 375 F.3d 190, 194 (2d Cir. 2004)

(holding that “unprotectible elements that follow naturally from a work’s theme

rather than from an author’s creativity” cannot support a claim of

infringement). More importantly, however, the actual way in which the subplot

plays out across each episode is once again appreciably different. In This

School Year, the item at issue is Davis’s desk, and its actual loss occurs in the

short, final scene in the pilot, with Davis “walk[ing] into her classroom and

slam[ming] the door behind her,” before realizing in distress that her desk has

been stolen, prompting her to “scream[] from the top of her lungs and throw[] a

book at the blackboard,” after which the episode fades to a conclusion.

(TSY 28).

      By contrast, in Abbott Elementary, the loss of the rug is a running

conceit throughout the entire episode, providing a vehicle to introduce serious



                                       34
     Case 1:22-cv-05944-KPF      Document 92     Filed 03/19/24   Page 35 of 49




topics, such as the fact that the rug is necessary to provide a safe space for

students with difficult home lives, as well as comedic elements, through the

provision of ostensibly stolen rugs as a solution. (See Abbott Br. 12-13

(collecting citations to the Abbott Elementary pilot episode)). While the desk in

This School Year provides a coda to the episode’s broader emphasis on Davis’s

frustrations with the resource constraints at the school, the rug in Abbott

Elementary demonstrates the protagonist’s drive to make a change for her

students regardless of how steep the battle, and her colleagues’ ultimate

decision to work together to support her naïve optimism.

      Considering these various examples as a whole, the Court finds that

Plaintiff has not established that the plot and themes of This School Year and

Abbott Elementary are substantially similar.

                   ii.    The Characters in Both Works Are Dissimilar

      “In determining whether characters are similar, a court looks at the

‘totality of the characters’ attributes and traits’ as well as the extent to which

the defendants’ characters capture the ‘total concept and feel’ of figures in the

plaintiff’s work.” Abdin v. CBS Broad., Inc., 405 F. Supp. 3d 591, 599 (S.D.N.Y.

2019) (alteration adopted) (quoting Sheldon Abend Revocable Tr. v. Spielberg,

748 F. Supp. 2d 200, 208 (S.D.N.Y. 2010)); see also Walker, 784 F.2d at 50).

On this topic, Plaintiff maintains that the “similarities between the characters

in [both works is] so compelling that they are interchangeable.” (Pl. Abbott

Opp. 13). Once again, however, a closer examination of the at-issue characters

reveals that Plaintiff’s assertions are unfounded.



                                         35
     Case 1:22-cv-05944-KPF     Document 92    Filed 03/19/24   Page 36 of 49




                         (a)   The Protagonists in Each Work Are Distinct

      The Court begins with a comparison of the protagonists of both works:

Davis in This School Year and Teagues in Abbott Elementary. Plaintiff is

technically correct that “[b]oth works have young, African American, female,

lead characters” in their second year of teaching at an inner-city school. (SAC,

Ex. E ¶ 1; Pl. Abbott Opp. 13). It is well established, however, that “generic

and generalized character traits such as race, gender, and hair color are not

protectible.” Abdin, 971 F.3d at 67. Similarly, the fact that both works situate

the protagonists in their second year of teaching “follows naturally” from the

broader, unprotectible theme of the naïve-but-capable teacher, MyWebGrocer,

375 F.3d at 194, and is also too generic to serve as protectable characteristic,

Abdin, 971 F.3d at 67.

      The same is true for each protagonists’ involvement in step coaching, as

such involvement follows naturally from stepping’s relationship to each show’s

broader representation of Black culture and the fact that stepping is a well-

known extracurricular activity, notwithstanding Plaintiff’s conclusory argument

to the contrary. (SAC, Ex. E ¶ 3 (“In both works, the lead characters are step

coaches. Not chess club, not cheerleading, not school paper coaches but step

coaches, a rarer and more unique talent.”)). See Stepping, ENCYC. BRITANNICA

(Dec. 21, 2015) (discussing stepping’s origins in and associations with Black

culture, and observing that while “[s]tepping was developed by African

American fraternities and sororities in the mid-20th century … it has become a

recreational competitive activity in some American high schools”), available at



                                       36
     Case 1:22-cv-05944-KPF     Document 92     Filed 03/19/24   Page 37 of 49




https://www.britannica.com/art/stepping [https://perma.cc/8HEZ-JJ4D].

And once again, the context in which stepping appears in both works is

decidedly distinct, upon closer examination. In This School Year, the step team

is referenced in a passing exchange between the protagonist and the school’s

white principal, and is illustrative of the principal’s out-of-touch nature.

(TSY 27). To the contrary, in Abbott Elementary, the step team narrative

throws into comedic tension the trope of the self-interested principal by casting

Principal Coleman in a positive light, providing thoughtful insight into her

backstory, and illustrating her rapport with the students, all to the surprise

and ultimate respect of the protagonist. (See generally Strom Decl., Ex. 1,

Disc 9 (Abbott Elementary, Episode 9, “Step Class”)).

      Given these substantial differences in execution, and the fact that “[t]he

bar for substantial similarity in a character is set quite high,” the mere fact

that both protagonists were involved in subplots involving step teams cannot

render both characters substantially similar for the purposes of an

infringement claim. Sheldon Abend Revocable Tr., 748 F. Supp. 2d at 208.

Indeed, “[c]ourts in this [C]ircuit have routinely denied character infringement

claims sharing far more similar characteristics and features.” Abdin, 971 F.3d

at 72 (citing Cabell v. Sony Pictures Entm’t, Inc., 714 F. Supp. 2d 452, 454

(S.D.N.Y. 2010) (granting summary judgment where characters were both

military-trained hairstylists who fight crime with hairdryers as weapons), aff’d,

425 F. App’x 42 (2d Cir. 2011) (summary order)); see also, e.g., Arden, 908 F.




                                        37
     Case 1:22-cv-05944-KPF     Document 92     Filed 03/19/24   Page 38 of 49




Supp. at 1261 (finding no substantial similarity between two thirty-something,

self-centered bachelors who both become trapped in a repeating day)).

      Moreover, a closer examination of the scripts and dialogue reveals that

each character has an appreciably different attitude towards their positions as

teachers. In particular, Davis’s attitude towards teaching is influenced in

prominent part by her desire to obtain tenure. (SAC, Ex. H). This attitude is

poignantly depicted in the opening scene of This School Year, where Davis

delivers a monologue emphasizing her view that “[t]enure is power,” and further

exhorting: “[tenure is] every teacher’s dream. You’re invincible. … I deserve it.

It’s just the thought of another school year right now is killing me.” (TSY 3).

Following this scene, discussions of tenure appear throughout the arc of the

pilot episode, providing a window into the motivations of Davis and her

colleagues, and establishing the stakes associated with the appointment of a

new principal. (See id. at 6, 7, 10, 18, 22, 24, 25, 27).

      In Abbot Elementary, on the other hand, Teagues’s motivations as a

teacher are linked to her own experiences as a student in the public school

system (see, e.g., AE 1 (“As a product of the Philadelphia school system, I’m

proud to say I survived, and can now teach here today!”), 5 (Teagues

confessing: “I wanted to be just like … my favorite teacher from 3rd grade. … I

was like … obsessed with her, actually.”)), as well as her unflappable optimism

and desire to make a change for the children in her school, as expressed in her

exchange with two senior teachers after failing in her initial attempt to secure

replacement rugs (id. at 29 (“I don’t care whether you think I’m good at this



                                        38
     Case 1:22-cv-05944-KPF      Document 92    Filed 03/19/24   Page 39 of 49




anymore. I care about whether or not I can make change. At [Abbott]. Where

it’s needed most.”)).

      Altogether, Davis’s portrayal departs from that of Teagues, as Davis

presents a more pragmatic representation of the incentives of teachers, as

acknowledged by Plaintiff in her own synopsis of her work. (SAC, Ex. H (“[T]he

teachers, staff, and students have their own agenda, especially Ms. Davis …

[who] is trying to convince everyone else that the school needs to be reformed

and secretly wants to secure her spot as a tenured teacher.”)). While there is

nothing in either work to suggest that both characters are not equally

motivated to help their students at the end of the day, this shared, admirable

quality alone is insufficient to overcome the significant differences in the

portrayal of each protagonist.

                         (b)     The Remaining Characters in Each Work Are
                                 Also Distinct

      The Court’s review of the remaining cast of characters proceeds in a

similar fashion and reaches a similar conclusion. As a threshold matter, the

vast majority of similarities among the remaining characters identified by

Plaintiff, including that of young, naïve teachers (SAC, Ex. E ¶¶ 1, 15), and

seasoned, experienced mentors (id. ¶¶ 6, 15-16), arise from use of “stock

characters and situations [that] are inherent in the use of the school as a

background and are not copyrightable.” Burnett v. Lambino, 204 F. Supp. 327

(S.D.N.Y. 1962) (observing that “in each work, there are idealistic teachers,

cynical teachers, stupid students, intelligent students[,] and unruly students

and relationships between them,” and finding that those characters, without


                                        39
     Case 1:22-cv-05944-KPF     Document 92     Filed 03/19/24   Page 40 of 49




more, cannot support a claim of infringement); see also Abdin, 971 F.3d at 72

(remarking that “basic character type[s] … [are] not entitled to copyright

protection” (citing Hogan, 48 F. Supp. 2d at 310)); Campbell v. Walt Disney Co.,

718 F. Supp. 2d 1108, 1112 (N.D. Cal. 2010) (“find[ing] [a] young mentee-older

mentor storyline to be a ‘basic plot idea … not protected by copyright law’”

(quoting Cavalier v. Random House, Inc., 297 F.3d 815, 824 (9th Cir. 2002))).

      The same is true with respect to both works’ depiction of “self-centered,

self-involved” principals (SAC, Ex. E ¶¶ 9-11); “characters that were passed

over for the principal position” (id. ¶ 14); and “older, more experienced teachers

warning the lead characters not to be taken advantage of by the system” (id.

¶ 20), as these similarities at best reflect “merely the broader outlines” of

personalities found in an inner-city public school, and do not establish that

“plaintiff’s original conception sufficiently developed the character[s].” Hogan,

48 F. Supp. 2d at 310 (internal quotation marks and citation omitted).

      What is more, on closer examination, the details of these additional

characters differ, consistent with the thematic and tonal differences of the

works. For example, while the principals are introduced through the well-

traveled tropes of the “school principal who is pompous … [and] uninterested in

teaching problems,” the actual developments, vel non, of Principals Coleman

and Lyons diverge. Burnett, 204 F. Supp. at 332. While Abbott Elementary

utilizes Principal Coleman’s conceited qualities as a comedic foil to the

diligence of the teachers in the show, the show pointedly reveals, in episodes

such as “Step Class,” discussed above, that certain of Principal Coleman’s



                                        40
     Case 1:22-cv-05944-KPF         Document 92        Filed 03/19/24     Page 41 of 49




shortcomings are only surface-level, and that there is more to her character

than meets the eye. By contrast, there is no indication in This School Year that

Principal Lyons possesses similar qualities upon which to base any inference

that the two characters are comparable. Abdin, 971 F.3d at 70 (emphasizing

the distinctness of two characters where “it is unclear what role the nameless

tardigrade plays in the Videogame,” whereas the television show’s tardigrade “is

very much at the center of a fully-developed story”).

      Additionally, stock tensions amongst these characters, such as the

exasperation of coworkers with one another, are simply scènes à faire in

workplace comedies. (SAC, Ex. E ¶ 17). Copyright protection does not extend

to “‘stock’ themes commonly linked to a particular genre.” Walker, 784 F.2d at

50. The same is true for the “will they, won’t they” romantic tension between

coworkers, and the wordplay associated with naming each character “Mr.

Wright.” (Id. ¶ 12). Accord Cortes v. Univ. Music Latino, 477 F. Supp. 3d 1290,

1299 (S.D. Fla. 2020) (“‘Common expressions and clichés’ … are not copyright

protectable.” (quoting Steele v. Turner Broad Sys., Inc., 646 F. Supp. 2d 185,

191 (D. Mass. 2009))).

      Copyright protection also does not extend to passing jokes about graying

hair and references to the well-known Whitney Houston song, Greatest Love of

All, and its line “I believe the children are our future.” (SAC, Ex. E ¶¶ 7, 19). 11



11    For one, Plaintiff is incorrect in her assertion that “[b]oth works make a joke about
      teachers going gray in their opening episodes,” as there is no reference to Plaintiff’s
      cited line anywhere in the pilot for Abbott Elementary. (SAC, Ex. E ¶ 19 (“[T]he
      reference to teachers growing gray hair is repeated in Abbott Elementary, when Ms.
      Barbara tells Ms. Teagues that ‘teachers are growing gray hairs because they cannot


                                              41
     Case 1:22-cv-05944-KPF         Document 92      Filed 03/19/24   Page 42 of 49




The fact that the time-honored association between graying hair and

challenging work environments appears both in Plaintiff’s Work and in one

episode of the 13-episode season of Abbott Elementary is insufficient to sustain

a copyright claim. Likewise, use of Whitney Houston’s well-known opening

lyric flows expectedly from the school setting and is not evidence of protectable

similarity. Cf. Peters v. West, 692 F.3d 629, 635 (7th Cir. 2012) (observing that

each song’s common reference to the phrase “what does not kill me, makes me

stronger,” originally authored by philosopher Fredrich Nietzsche, had become a

“ubiquitous … common saying” that could not, without more, serve as the

basis for a claim of infringement).

      Even the more particular commonalities identified by Plaintiff fail to

implicate protectable similarities. While both works involve dialogue by

characters referencing the multiple roles played by teachers, such as social

workers, counselors, and parents (SAC, Ex. E ¶ 22), recognition of the complex

responsibilities often required of teachers is, unfortunately, “indispensable, or

at least standard in the treatment” of a work set in an inner-city public school.

Zalewski v. Cicero Builder Dev., Inc., 754 F.3d 95, 102 (2d Cir. 2014) (observing

that “cowboys, bank robbers, and shootouts in stories of the American West —

get no protection” (internal quotation marks omitted)).

      Notwithstanding these similarities, each character’s observation that

they are performing these myriad roles for one salary arises in an appreciably




      keep up.’”) But see generally AE 1-33).



                                                42
     Case 1:22-cv-05944-KPF      Document 92     Filed 03/19/24   Page 43 of 49




different context and is delivered with a dissimilar tone. In This School Year,

Davis makes this observation to emphasize her frustration with the

underpayment and underappreciation of her role. (TSY 12 (“This is a joke. We

are teachers, counselors, social workers, baby-sitters, parents, friends, referees

all at the same time … one salary though … and they give us fruit snacks?”)).

In Abbott Elementary, on the other hand, the line is delivered not by the

protagonist, but instead by Beeman, a more experienced teacher, to comfort

the protagonist’s disappointment, and remind her that the reason why each

teacher is still in the job is “[s]ure as hell not the pay.” (AE 29 (“[T]eachers at a

school like [Abbott] have to be able to do it all. We’re admin. We’re therapists.

We’re social workers. We’re second parents. Sometimes, first. Why? Sure as

hell not the pay.”)). This is emphasized by Peterson’s further observation, that

“[they] do this because [they’re] supposed to. It’s a calling.” (Id.).

      Finally, in comedies that incorporate the racial dynamics of inner-city

public schools into their narrative, a white character “who attempt[s] to belong

within the dominant [B]lack culture of the school” (SAC, Ex. E ¶ 13; see also id.

¶ 18 (observing both works “use African American slang as a prominent

plot/character device”)), is, without more, a stock similarity based on non-

protectible generalized traits. See Abdin, 971 F.3d at 67 (“[G]eneric and

generalized character traits such as race, gender, and hair color are not

protectible.”); cf. Marcus v. ABC Signature Studios, Inc., 279 F. Supp. 3d 1056,

1066 (C.D. Cal. 2017) (dismissing copyright claim where “[t]he only similarity

[in both television shows] is the idea of ‘acting black,’” and finding the relevant



                                         43
     Case 1:22-cv-05944-KPF       Document 92     Filed 03/19/24   Page 44 of 49




vignettes to be “scènes-à-faire … flow[ing] necessarily or naturally from the

basic plot premise of a black family living and working in a predominantly

white area” (internal quotation marks omitted) (citing Cavalier, 297 F.3d at

822)); Ricketts v. CBS Corps., 439 F. Supp. 3d 1199, 1214 (C.D. Cal. 2020)

(finding television series’ “theme of the ‘fish-out-of-water,’ [] is not protectable

and arises naturally from the premise of a poor, young, black man attending a

school with rich, mostly white students”). Nor is Plaintiff correct in her bare

assertion that “[b]oth works have Black Nationalist characters,” as specific

references to the concept of Black Nationalism are nowhere to be found in

either work. (SAC, Ex. E ¶ 21). At best, both works contain a scene in which a

character “raise[s] [a] fist in black solidarity.” (Id.). Plaintiff’s claim, however,

cannot stand on the single gesture alone, as the gesture appears in different

contexts and is made by different types of characters, consistent with the fact

that a raised fist in protest is a well-recognized gesture of solidarity that rises

naturally from the broader unprotectible theme of race and Black culture in

both works. Accordingly, Plaintiff’s allegations fall well short of the mark

required to show character infringement with respect to both the protagonists

and the supporting characters of each work.

                    iii.   Minor Similarities in Setting, Format, and Pace
                           Cannot Support Plaintiff’s Claim of Infringement

      As discussed above, almost the entirety of Plaintiff’s specified areas of

similarity arises in the context of the plot and characters of each work. With

respect to the remaining factors — setting, format, and pace — the Court finds

no substantial similarities upon which Plaintiff can rest her claim.


                                          44
     Case 1:22-cv-05944-KPF        Document 92       Filed 03/19/24     Page 45 of 49




      First, Plaintiff provides no specific indications of how Abbott Elementary

School, located in Philadelphia, is similar to New York City P.S. 311 in This

School Year, beyond those commonalities consistent with an archetypal inner-

city public-school environment. See Burnett, 204 F. Supp. at 331-32 (finding

that the common “vocational school background” of both works was an

unprotectable general setting).

      Second, while both works are shot in a mockumentary format, this

narrative technique on its own is insufficiently unique to serve as a protectable

similarity, as “copyright does not protect styles, but only particular original

expressions of those styles.” McDonald v. West, 138 F. Supp. 3d 448, 455

(S.D.N.Y. 2015) (citing Judith Ripka Designs, Ltd. v. Preville, 935 F. Supp. 237,

248 (S.D.N.Y. 1996)). Indeed, and notwithstanding Plaintiff’s conclusory

argument to the contrary (SAC, Ex. E ¶ 8), the mockumentary format is a well-

known narrative mechanism for television workplace comedies, as utilized in

long-running and critically-acclaimed programs such as The Office, Parks &

Recreation, and Modern Family, inter alia. 12 “To hold that the use of such [a

narrative device] is copyrightable would be to deprive this unique genre of

vehicles necessary to advance the plot, effectively preventing others from

penning similar stories.” Mena v. Fox Entm’t Grp., Inc., No. 11 Civ. 5501 (BSJ)

(RLE), 2012 WL 4741389, at *8 (S.D.N.Y. Sept. 29, 2012); cf. Tanksley v.



12    As before, the Court may take judicial notice of the mockumentary format, popularity,
      and series length of each television series, as these facts are both generally known
      within the Court’s territorial jurisdiction, and capable of accurate and ready
      determination by resort to accurate sources. See Fed. R. Evid. 201.



                                            45
     Case 1:22-cv-05944-KPF      Document 92     Filed 03/19/24   Page 46 of 49




Daniels, 259 F. Supp. 3d 271, 288 (E.D. Pa. 2017) (observing that narrative use

of “flashback scenes [is] not protected[;] [t]hey are commonly used devices in a

soap opera style story, and have been used countless times in television shows

and movies” (citing Herzog v. Castle Rock Ent’mt, 193 F.3d 1241, 1260-61 (11th

Cir. 1999) (observing that the stylistic “use of flashbacks … is a familiar device

in film and fiction” and cannot, without more, support a finding of substantial

similarity))), aff’d, 902 F.3d 165 (3d Cir. 2018). Similarly, the fact that the

principal in both works made the decision to hire the camera crew flows

naturally from the elementary school setting, where the principal generally

serves as the highest decisionmaking authority in the workplace, and whose

approval would be necessary to bring a hypothetical film crew into the school.

      Finally, Plaintiff does not identify specific similarities in the pace of the

two works, beyond her general argument that the “format and pace of the

works are identical.” (Pl. Abbott Opp. 14). Regardless, “pace, without more,

does not create an issue of overall substantial similarity between the works.”

Williams, 84 F.3d at 590.

      Ultimately, none of Plaintiff’s complained-of similarities is borne out by

the Court’s close review of the works themselves. After having extracted and

evaluated the protectible elements of both works, the Court finds that “points

of dissimilarity exceed those that are similar,” and that any coincidental

similarities “are — when compared to the original work — of small import

quantitatively [and] qualitatively.” Rogers, 960 F.2d at 308. Accordingly, “a

finding of no infringement is appropriate.” Id.; see also Durham Indus., Inc. v.



                                         46
     Case 1:22-cv-05944-KPF     Document 92    Filed 03/19/24   Page 47 of 49




Tomy Corp., 630 F.2d 905, 913 (2d Cir. 1980) (“Numerous differences tend to

undercut substantial similarity.”).

            b.     The Total Concept and Overall Feel of the Works Are
                   Appreciably Different

      Finally, the difference between the two works is even more notable when

viewing them through a wider lens. While Plaintiff is correct that “a work may

be copyrightable even though it is entirely a compilation of unprotectable

elements” (Pl. Abbott Opp. 7 (quoting Wolstenholme v. Hirst, 271 F. Supp. 3d

625, 635 (S.D.N.Y. 2017))), she fails to demonstrate that such overall similarity

is present here.

      Indeed, and as demonstrated by the Court’s analysis of each of Plaintiff’s

alleged similarities, the two works use qualitatively different plots, themes, and

characters to cast different perspectives on the experiences of teachers in

under-resourced, inner-city public-school settings. This School Year blends

comedy with a harder-edged look at the uncertainties and challenges teachers

face, with Ms. Davis’s pragmatic goal of securing tenure as a key example.

Abbott Elementary, on the other hand, employs a comparatively lighter tone,

utilizing Ms. Teagues’s comedic naïveté and persistent optimism to emphasize

the resource constraints and other limitations faced by teachers working in

such settings. Ultimately, any discerning observer would appreciate that

Plaintiff and Defendants “selected, coordinated, and arranged the elements of

[each] work,” in a distinct manner, belying any plausible finding of substantial

similarity with respect to the total concept and feel of each work. Knitwaves,




                                        47
        Case 1:22-cv-05944-KPF    Document 92     Filed 03/19/24   Page 48 of 49




71 F.3d at 1004 (internal quotation marks omitted) (citing Feist, 499 U.S. at

358).

        Altogether, therefore, Plaintiff has failed to plausibly establish “the

substantial similarity of protectible material in the two works,” Williams, 84

F.3d at 587, which similarity is a necessary element to establish that

Defendants engaged in any “copying of constituent elements of [Plaintiff’s] work

that are original,” Abdin, 971 F.3d at 66. Absent this essential element,

Plaintiff’s copyright claim must be dismissed.

C.      Plaintiff Cannot Establish Claims Against Parks or the BPP
        Defendants for Contributory Infringement

        As the Court has found that Plaintiff cannot prevail in her claims of

direct infringement against the Abbott Defendants, any hypothetical claims for

contributory infringement against Parks or the BPP Defendants must also fail.

See Williams v. A & E Television Networks, 122 F. Supp. 3d 157, 165 (S.D.N.Y.

2015) (“[T]here can be no contributory infringement absent actual

infringement.” (citing Faulkner v. Nat’l Geographic Enters., Inc., 409 F.3d 26, 40

(2d Cir. 2005))). Accordingly, the Court need not reach the BPP Park

Defendants’ arguments that Plaintiff engaged in impermissible “shotgun

pleading” with respect to her allegations against them. (BPP Br. 6-7).

                                    CONCLUSION

        For the foregoing reasons, Parks’s and the BPP Defendants’ motions to

dismiss the SAC for lack of personal jurisdiction are DENIED without

prejudice. Defendants’ broader set of motions to dismiss the SAC for failure to

state a claim are hereby GRANTED.


                                          48
     Case 1:22-cv-05944-KPF    Document 92    Filed 03/19/24   Page 49 of 49




      The Clerk of Court is directed to terminate all pending motions, including

those at docket entries 64, 68, and 86, adjourn all remaining dates, and close

this case.

      SO ORDERED.

Dated:       March 19, 2024
             New York, New York            __________________________________
                                              KATHERINE POLK FAILLA
                                             United States District Judge




                                      49
